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                                                                                                     United States Bankruptcy Court
                                                                                                          Southern District of Texas

                                                                                                             ENTERED
                         IN THE UNITED STATES BANKRUPTCY COURT                                               June 07, 2023
                           FOR THE SOUTHERN DISTRICT OF TEXAS                                             Nathan Ochsner, Clerk
                                    HOUSTON DIVISION

    In re:                                                          CHAPTER 11

    KALERA, INC., 1                                                 CASE NO.: 23-90290 (DRJ)

     Debtor.
                                                                          (Docket No. 117)

        ORDER ESTABLISHING PROCEDURES FOR INTERIM COMPENSATION
           AND REIMBURSEMENT OF EXPENSES FOR PROFESSIONALS

             Upon the motion (the “Motion”) 2 of Kalera Inc., as debtor and debtor in possession in the

above-captioned case (the “Debtor”), for entry of an order authorizing the Debtor to establish

Compensation Procedures for professionals whose services are authorized by this Court pursuant

to Sections 327 or 1103 of the Bankruptcy Code and who will be required to file applications for

allowance of compensation and reimbursement of expenses pursuant to Sections 330 and 331 of

the Bankruptcy Code and Bankruptcy Rule 2016(a), as more fully set forth in the Motion; and this

Court having reviewed the Motion; and it appearing that the relief requested in the Motion is in

the best interests of the Debtor and its estate and creditors; and upon all of the proceedings had

before this Court and after due deliberation and sufficient cause appearing therefor,

             IT IS HEREBY ORDERED THAT:

             1.     The Motion is granted as set forth herein.

             2.     Except as may otherwise be provided by orders of the Court authorizing the

retention of specific professionals, all Retained Professionals, and members of any statutory




1
  The last four digits of the Debtor’s federal tax identification number is 7838. The Debtor’s mailing address is Kalera,
Inc., Gateway Business Center 23, 18000 East 40th Avenue, Aurora, CO 80011.
2
  Capitalized terms used but not otherwise defined herein shall have the meanings given to them in the Motion.
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committee may seek interim compensation and/or reimbursement of expenses in accordance with

the following Compensation Procedures:

                      (i)     On or after the 21st day of each month following the month for which
                      compensation is sought or as soon as is reasonably practicable thereafter,
                      each Retained Professional seeking compensation may file a notice with the
                      Court and send a monthly statement, reasonably detailed indicating the
                      nature of the services rendered and expenses incurred (the “Monthly
                      Statement”), by email or hand delivery, to the following parties
                      (collectively, the “Fee Notice Parties”):

(a) The Debtor: Kalera, Inc., Gateway Business Center 23, 18000 East 4th Avenue, Aurora, CO
80011 (Attn.: Mark Shapiro, mshapiro@brileyfin.com);

(b) Counsel to the Debtor: Baker & Hostetler LLP, 200 S. Orange Avenue, Suite 2300, Orlando,
FL 32801 (Attn.: Elizabeth A. Green, egreen@bakerlaw.com; Jimmy Parrish,
jparrish@bakerlaw.com; and Jorian Rose, jrose@bakerlaw.com);

(c) The Office of the United States Trustee for the Southern District of Texas, 515 Rusk Street,
Suite 3516, Houston, Texas 77002 (Attn.: Andrew Jimenez, Andrew.Jimenez@usdoj.gov; and
Jayson B. Ruff, jayson.b.ruff@usdoj.gov);

(d) Proposed counsel to the Committee: Dykema Gossett PLLC, 5 Houston Center, 1401
McKinney Street, Suite 1625, Houston, Texas 77010 (Attn.: Basil A. Umari,
BUmari@dykema.com);

(e) Counsel to the DIP Agent, Akerman LLP, 2001 Ross Avenue, Suite 3600, Dallas, Texas 75201
(Attn:   David      W.    Parham,    david.parham@akerman.com;       R.    Adam       Swick,
adam.swick@akerman.com; and Laura M. Taveras, laura.taveras@akerman.com).

                      (ii)    Each Fee Notice Party shall have 14 days after delivery of a Monthly
                      Statement to review it. Upon expiration of such 14-day period, the Debtor
                      is authorized and directed to pay the Retained Professional an amount (the
                      “Actual Monthly Payment”) equal to 80% of the fees and 100% of the
                      expenses requested in the applicable Monthly Statement (the total amount
                      requested being the “Maximum Monthly Payment”) that are not subject to
                      an objection pursuant to subparagraph (iii) below.

                      (iii) If a Fee Notice Party objects to a Monthly Statement, the objecting
                      party shall, within 14 days after delivery of the Monthly Statement, deliver
                      via email a written notice upon the respective Retained Professional and
                      each of the other Fee Notice Parties (the “Notice of Objection to Monthly
                      Statement”) setting forth with reasonable detail the nature of the objection
                      and the amount at issue. Thereafter, the objecting party and the Retained
                      Professional shall attempt to resolve the objection on a consensual basis. If
                      the parties reach an agreement, the Debtor shall promptly pay 80% of the
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            agreed-upon fees and 100% of the agreed-upon expenses. If, however, the
            parties are unable to reach a resolution of the objection within 14 days (or
            such longer period as mutually agreed to by the Retained Professional and
            the objecting party) after delivery of the Notice of Objection to Monthly
            Statement, the objecting party shall file its objection (the “Objection”) with
            the Court within three (3) business days and serve such Objection on the
            respective Retained Professional and each of the other Fee Notice Parties.
            Thereafter, the Retained Professional may either (i) file with the Court a
            response to the Objection, together with a request for payment of the
            difference, if any, between the Maximum Monthly Payment and the Actual
            Monthly Payment made to the affected Retained Professional (the
            “Disputed Amount”), or (ii) forego payment of the Disputed Amount until
            the next hearing on an Interim Fee Application or Final Fee Application
            (each as defined herein), at which time the Court will consider the
            Objection, if requested by the parties.

            (iv)    Each Retained Professional may submit its first Monthly Statement
            following entry of this Order. The first Monthly Statement shall be for the
            period from the Petition Date through April 30, 2023, which shall be filed
            as soon as reasonably possible following entry of an order granting this
            Motion. Thereafter, the Retained Professionals may submit Monthly Fee
            Statements in the manner described above. Any Retained Professional that
            fails to file a Monthly Fee Statement for a particular month may
            subsequently submit a consolidated Monthly Fee statement that includes a
            request for compensation earned or expenses incurred during the previous
            months. A Retained Professional’s failure to file a Monthly Fee Statement
            shall not prejudice such Retained Professional’s right to request
            compensation earned or expenses incurred under an Interim Fee
            Application or Final Fee Application.

            (v)      Beginning with the period ending June 30, 2023, and at three month
            intervals thereafter (each, an “Interim Fee Period”), on or before the 21st
            day following the respective Interim Fee Period, each of the Retained
            Professionals shall file with the Court and serve on the Fee Notice Parties
            an interim fee application (each an “Interim Fee Application”) for
            payment of compensation and reimbursement of expenses sought in the
            Monthly Statements served during such period and prepared in accordance
            with the Compensation Procedures. Interim Fee Applications shall be filed
            no later than 30 days after the end of the subject Interim Fee Period. The
            first Interim Fee Application shall cover the Interim Fee Period from the
            Petition Date through and including June 30, 2023. Each Retained
            Professional shall serve notice of its Interim Fee Application (which
            identifies the Retained Professional seeking compensation and
            reimbursement of expenses being sought and a description of the amount of
            compensation and expenses sought) on the Fee Notice Parties and all parties
            that have entered an appearance pursuant to Bankruptcy Rule 2002. The Fee
            Notice Parties and other parties-in-interest will have 21 days after service,
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                       which service may be by email, of an Interim Fee Application or notice
                       thereof, as applicable, to object to the Interim Fee Application.
                       Notwithstanding anything to the contrary in the Compensation Procedures,
                       a Retained Professional may file a fee application in accordance with any
                       procedures established by a Chapter 11 plan filed in this Chapter 11 Case
                       and confirmed by the Court. Each Interim Fee Application must include (i)
                       a narrative discussion, (ii) a summary of the Monthly Fee Statements that
                       are the subject of such application request, (iii) the amount of fees and
                       expenses paid of date or subject to objection, and (iv) the deadline for
                       parties other than the Notice Parties to file objections.

                       (vi)   The Debtor will request that the Court consider the Interim Fee
                       Applications once every three (3) months or at such other intervals as the
                       Court deems appropriate. The Court, in its discretion, may approve an
                       uncontested Interim Fee Application without the need for a hearing if no
                       Objections are timely filed. Upon allowance by the Court of a Retained
                       Professional’s Interim Fee Application, the Debtor shall be authorized to
                       promptly pay such Retained Professional all allowed fees (including the
                       20% holdback) and expenses not previously paid.

                       (vii) The pendency of an Objection to payment of compensation or
                       reimbursement of expenses will not disqualify a Retained Professional from
                       the future payment of compensation or reimbursement of expenses under
                       these Compensation Procedures, unless otherwise ordered by the Court.

       3.      Neither (a) the payment of or the failure to pay, in whole or in part, a Monthly

Statement nor (b) the filing of or failure to file an Objection with the Court will bind any party in

interest or the Court with respect to the Final Fee Applications. All fees and expenses paid to

Retained Professionals under the Compensation Procedures are subject to challenge and

disgorgement until final allowance by the Court.

       4.      In each Interim Fee Application and the Final Fee Application all attorneys who

have been or are hereafter retained pursuant to Sections 327 or 1103 of the Bankruptcy Code shall

apply for compensation for professional services rendered and reimbursement of expenses incurred

in connection with this Chapter 11 Case in compliance with Sections 330 and 331 of the

Bankruptcy Code and applicable provisions of the Bankruptcy Rules, Local Rules, and any other
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applicable procedures and orders of the Court, both in connection with any Interim Fee Application

and Final Fee Application to be filed by such professionals in this Chapter 11 Case.

       5.      The Retained Professionals shall only serve the Monthly Statements, the Interim

Fee Applications, and the Final Fee Applications on the Fee Notice Parties and shall provide notice

of the hearings on the Interim Fee Applications and Final Fee Applications on all other parties that

have filed a notice of appearance with the Clerk of the Court and requested notice of pleadings in

this Chapter 11 Case.

       6.      A Retained Professional shall not seek payment in a Final Fee Application for any

amounts that such Retained Professional previously sought in a Monthly Fee Statement or Interim

Fee Application, and which such Retained Professional voluntarily waived or reduced to resolve

formal or informal objections or were disallowed by order of the Court.

       7.      Any Professional who fails to timely file an Interim Fee Application seeking

approval of compensation and expenses previously paid pursuant to a Monthly Fee Statement shall

(a) be ineligible to receive further monthly payments of fees or reimbursement of expenses as

provided herein until such Interim Fee Application is filed, and (b) may be required to disgorge

any fees paid since retention or the last fee application, whichever is later.

       8.      Each member of the Committee is permitted to submit statements of out-of-pocket

expenses incurred in the performance of the duties of the Committee with supporting vouchers to
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Committee counsel, and Committee counsel shall collect and submit the Committee member’s

request for reimbursement in accordance with the Compensation Procedures.

       9.      All notices given in accordance with the Compensation Procedures shall be deemed

sufficient and adequate notice and in full compliance with the applicable provisions of the

Bankruptcy Code, the Bankruptcy Rules, and the Bankruptcy Local Rules.

       10.     All time periods set forth in this Order shall be calculated in accordance with

Bankruptcy Rule 9006(a).

       11.     The Debtor is authorized to take all actions necessary or appropriate to carry out

the relief granted in this Order.

       12.     This Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation, interpretation, and enforcement of this Order.

       DATED:
     Signed: June 07, 2023.
                                             ____________________________________
                                             Honorable  David R. Jones
                                                 ____________________________________
                                             United StatesR.Bankruptcy
                                                 DAVID       JONES     Judge
                                                  UNITED STATES BANKRUPTCY JUDGE
